° Wdmitted in | 2800 Cela Read
David I. Schoen Ainben | Suite 100.

. Maryland | Montgomery, AL 36106
Attorney at Law New York

District of Columbia Telephone

334.395.6611

Facsimile

January 25, 2023 917.591.7586

Email
david@schoenlawfirm.com

Honorable Mark J. Langer

Clerk of the Court

United States Court of Appeals

District of Columbia Circuit

Washington, D.C. 20001-2866 Re: United States v. Stephen K. Bannon, No. 22-3086
* Via ECF *

Dear Mr. Langer:

I represent the Appellant, Mr. Stephen K. Bannon, in the above-referenced case. I am
writing to you today, pursuant to Sections IX.A.1. and XI.A., D.C. Circuit Handbook of Practice
and Internal Procedures and consistent with the Notice concerning the scheduling of oral
argument that I received today (Doc. #1982959).

I will be arguing counsel in the case and I will be unavailable, for religious observance
reasons, to appear for oral argument on the following dates:

May 25-26, 2023; July 26-27, 2023; September 15 & 18, 2023; September 25-26, 2023;
September 29, 2023; October 2, 6, & 9, 2023.

All other dates should be fine. I thank you in advance for your efforts, to the extent
possible, to schedule oral argument in this case for a date that will avoid a conflict with any of

the dates specified above.
Respectfully,
VU YJ

“" David I. Schoen
(D.C. Bar No. 391408)
Counsel for Appellant Bannon

cc: All Counsel of Record (via ECF)
